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                                                 April 5, 2019

By ECF


Honorable Ann Donnelly
United States District Court
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:    United States v. Ying Lin, 15 Cr. 601

Dear Judge Donnelly:

       Ms. Lin’s jury trial is scheduled to begin on May 20, 2019, and motions in limine are due on
April 11, 2019. I write with the consent of the government to respectfully request a one-week
adjournment of the date for filing motions in limine. The parties are engaged in active plea negotiations
and hope to reach a resolution early next week.

       Thank you for your consideration.



                                                 Respectfully submitted,

                                                 /s/

                                                 Deborah Colson
                                                 (212) 257-6452


cc: AUSA Doug Pravda
    AUSA Ian Richardson
    AUSA Sarah Evans




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